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DARRYL wILLIAMs. W/D GF T§‘-}, E:é§r`*.:€PHIS

Plaintiff,
THE C]:T‘.£l OF MEMPI'IIS,

OFFICER VLNCE STACKS,
and OTHER JOHN DOE OFFICERS,

Defendants.

 

ORDER DENYING MOTION TO DISMISS OF DEFENDANT CITY OF MEMPHIS AS
MOOT

 

Before the Court is the Motion To Dismiss of Defendant City
of Memphis, filed February 4, 2005. Plaintiff responded in
opposition on March 25, 2005. Plaintiff also filed an Amended
Complaint on the same date. Defendant City of Memphis filed a
motion to dismiss the Amended Complaint on April 25, 2005.
Plaintiff responded in opposition on July 18, 2005.

In its motion to dismiss the Amended Complaint, Defendant
relied upon the arguments presented in its February 4, 2005,
motion. Because Plaintiff filed an Amended Complaint,
Defendant's February 4, 2005, motion to dismiss is DENIED as
moot. However, because Defendant, in its motion to dismiss the
Amended Complaint, relied upon the arguments made in its original
motion to dismiss, the Court Will consider the arguments

presented in the February 4, 2005, motion in deciding Defendant's

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motion to dismiss the Amended Complaint.

IT IS SO ORDERED this 62, day of July, 2005.

emO.QQ.

P. MCCALLA
I'I‘ED STATES DIS'I'RICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02976 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

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Honcrable Jon McCalla
US DISTRICT COURT

